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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 OLEG DERIPASKA,

                    Plaintiff,

           V.                                         Civil Action No. 19-cv-00727 (APM)

 STEVEN T. MNUCHIN, Secretary of the
 UNITED STATES DEPARTMENT OF
 THE TREASURY, ANDREA M. GACK.I,
 DIRECTOR OF THE OFFICE OF
 FOREIGN ASSESTS CONTROL,

                    Defendants.


                                              ORDER

        Upon due consideration of Defendants' Notice of Withdrawal of Opposition to Plaintiffs

Motion for Leave to File Supplemental Pleading and Joint Request to File Status Report within 75

Days in Lieu of December 9, 2019 Status Conference, it is hereby ordered that:

   •    The December 9, 2019 Status Conference is cancelled; and

   •    The parties shall file a joint status report within 75 days informing the Court as to whether

        Defendants have provided an unclassified summary to Plaintiff, the status of Plaintiffs

        request for administrative reconsideration of his designation under Executive Order 13662,

        and, if possible, a proposed schedule that includes time for Plaintiff to amend his

        complaint, if necessary, and a summary judgment briefing schedule.

   •    Additionally, further consideration of the pending Motion to Dismiss or in the Alternative

        for Summary Judgment, ECF No. 9, is hereby stayed until further order of the court.

Date:   _______             _,   2019
                                              Amit  P. Mehta
                                                                     Digitally signed by Amit P.
                                              HON. AMIT P.     MEHTA Mehta
                                                                     Date: 2019.12.06 16:42:38 -05'00'
                                              United States District Judge
